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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

 HOME CITY GRAIN, INC.,                             )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )
                                                    )       Case No. 6:23-CV-01092-EFM-ADM
 CONTINENTAL WESTERN INSURANCE                      )
 COMPANY,                                           )
                                                    )
                        Defendant.                  )
                                                    )


                               JOINT NOTICE OF SETTLEMENT


       Pursuant to D. Kan. Rule 40.3(a), Plaintiff Home City Grain, Inc. and Defendant Continental

Western Insurance Company, through undersigned counsel, hereby notify the Court that the parties

have reached an agreement to resolve all claims in this matter. The parties are finalizing the related

paperwork and anticipate filing a dismissal stipulation within 3 business days. The parties request

the upcoming trial and related hearings be vacated as a result of this notice.

       Submitted this 27th of November, 2024, by:


 FOULSTON SIEFKIN LLP                                   SPENCER FANE LLP

 By: /s/ Jay F. Fowler                                  By: /s/ Jeremy A. Moseley
 Jay F. Fowler, KS #10727                               Jeremy A. Moseley, KS #22179
 Samuel J. Walenz, KS #29114                            1700 Lincoln Street, Suite 2000
 1551 N. Waterfront Parkway, Suite 100                  Denver, CO 80203
 Wichita, Kansas 67206-4466                             Telephone: 303.839.3800
 T: 316-291-9788 | F: 316-327-6345:                     Fax:        303.839.3800
 jfowler@foulston.com                                   Email: jmoseley@spencerfane.com
 swalenz@foulston.com                                   ATTORNEYS FOR DEFENDANT
 ATTORNEYS FOR PLAINTIFF




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                            CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on November 27, 2024, I electronically filed the foregoing JOINT

NOTICE OF SETTLEMENT with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all counsel of record to the following email addresses:


      Olawale O. Akinmoladun
       wakinmoladun@spencerfane.com,chass@spencerfane.com

      Jay F. Fowler
       jfowler@foulston.com,mgrundman@foulston.com,jbuck@foulston.com

      Jeremy A. Moseley
       jmoseley@spencerfane.com,kkern@spencerfane.com

      Samuel J. Walenz
       swalenz@foulston.com,pballinger@foulston.com



                                       s/ Jeremy A. Moseley
                                       An Attorney for Defendant




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